          Case 3:19-cv-00525-JBA Document 75 Filed 01/12/21 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

  WEI, et al,
          Plaintiffs,                                        Criminal No. 3:19cv525 (JBA)
         v.
                                                             January 12, 2021
  SICHUAN PEPPER, INC., et al,
        Defendants.

                                     ENDORSEMENT ORDER

       On November 13, 2020, the Court entered an Order denying Attorney Hang’s Motion to

Withdraw as Counsel for Defendants Sichuan Pepper, Inc., Michael Shieh, and “Jane” Ye due to the

disruption his withdrawal would cause to this litigation. ([Doc. # 60].) Attorney Hang filed a Motion

for Reconsideration pursuant to Local Rule 7(c) of Civil Procedure. ([Doc. # 61].) Rule 7 provides that

motions for reconsideration “will generally be denied unless the movant can point to controlling

decisions or data that the court overlooked in the initial order.” D. Conn. L. R. 7(c)(1). A motion for

reconsideration is not an appropriate vehicle to relitigate old issues or otherwise “tak[e] a second

bite at the apple.” Wilmington Savs. Fund Soc’y v. Universitas Educ., LLC, No. 15-cv-00911 (VLB), 2017

WL 945019, at *3 (D. Conn. Mar. 9, 2017) (internal quotation marks omitted). The fact that Attorney

Hang represents that Defendants Sichuan Pepper, Inc., Michael Shieh, and Jane Ye will not be

opposing entry of a default judgment against them is not new. Moreover, Attorney Hang’s unexcused

absence from the pre-filing conference held January 6, 2021, hampered the Parties and the Court in

setting an informed discovery and motions schedule, including on Defendant Tian’s crossclaim

against Defendants. Attorney Hang’s representation of his Defendants will continue to be required

since he has not identified any controlling decisions or factual circumstances that the Court

overlooked in its decision, and his Motion for Reconsideration [Doc. # 60] is DENIED.


                                               IT IS SO ORDERED.

                                                   /s/
                                               Janet Bond Arterton, U.S.D.J.


                                     Dated at New Haven, Connecticut this 12th day of January 2021.
